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                            UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                       ORLANDO DIVISION

   In Re: ADA Cases
                                                                  Case No: 6:18-mc-14-Orl-31DCI



                                                 ORDER
          On November 13, 2018, Magistrate Judge Irick issued a Report and Recommendation in

   this case (Doc. 46). The parties were notified therein that they had fourteen days to file written

   objections and that failure to do so would constitute a waiver of the party’s right to challenge the

   factual findings or legal conclusions contained in the Report and Recommendation. The

   following parties have not objected to the Report and Recommendation: Thomas Bacon, Alfredo

   Garcia-Menocal, Anthony Perez, Christine Failey, Joshua Sheskin, and Rafael Viego.

   Accordingly, it is

          ORDERED that Thomas Bacon, Alfredo Miguel Garcia-Menocal, and Anthony Perez are

   ADMONISHED to follow the Federal Rules of Civil Procedure, the Local Rules of this Court, and

   the Court’s Orders.

          It is further ORDERED that for a period of twelve (12) months from the date of this

   Order, Thomas Bacon, Christine Failey, Alfredo Miguel Garcia-Menocal, Antony Perez, Joshua

   Howard Sheskin, and Rafael Viego III shall comply with the reporting requirements of paragraph

   V(2) of the Report and Recommendation.

          DONE and ORDERED in Chambers, Orlando, Florida on January 29, 2019.
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   Copies furnished to:

   Counsel of Record
   Unrepresented Party




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